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  CULPEPPER IP, LLLC
  Kerry S. Culpepper, Bar No. 9837
  75-5737 Kuakini Highway, Suite 102
  Kailua-Kona, Hawai’i 96740
  Telephone: (808) 322-3389
  Facsimile: (202) 204-5181
  E-Mail:     kculpepper@culpepperip.com

  Attorney for Plaintiffs

                        UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

   Venice PI, LLC et al.,               )   Case No.: 1:18-cv-192-LEK-KSC
                                        )   (Copyright)
                     Plaintiff,         )
      vs.                               )   NOTICE OF PLAINTIFFS SVZ
                                        )   PRODUCTIONS INC.,
   Doe et. al.                          )   AUTOMATA PRODUCTIONS,
                     Defendants.        )   INC., CRIMINAL
                                        )   PRODUCTIONS, INC., DALLAS
                                        )   BUYERS CLUB, LLC AND
                                        )   SPLINTERED, LLC DISMISSAL
                                        )   OF ALL DEFENDANTS
                                        )   WITHOUT PREJUDICE
                                        )

      NOTICE OF PLAINTIFFS SVZ PRODUCTIONS INC., AUTOMATA
  PRODUCTIONS, INC., CRIMINAL PRODUCTIONS, INC., DALLAS BUYERS
   CLUB, LLC AND SPLINTERED, LLC DISMISSAL OF ALL DEFENDANTS
                        WITHOUT PREJUDICE


            Plaintiffs SVZ PRODUCTIONS INC., AUTOMATA PRODUCTIONS,

  INC., CRIMINAL PRODUCTIONS, INC., DALLAS BUYERS CLUB, LLC AND

  SPLINTERED, LLC provides notice of their voluntary dismissal under Rule 41(a)

  20-013A
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  of all Defendants without prejudice.

        These dismissals are pursuant to Rule 41(a)(1)(A)(i).

        DATED: Kailua-Kona, Hawaii, June 25, 2018.


                                 CULPEPPER IP, LLLC

                                 /s/ Kerry S. Culpepper
                                 Kerry S. Culpepper

                                 Attorney for Plaintiffs




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